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United States District Court
Eastern District of Virginia
                                                   X
United States of America,                          :
                                                   :
                                                   : Case No. 97-cr-00006-JCC-1
                            Plaintiff,             :
                                                   : Oral Argument Requested
         - against –                               :
                                                   :
Derrick Vincent Redd,                              : Motion Date: November 8, 2019
                                                   :
                            Defendant.             :
                                                   X

             NOTICE OF MOTION BY DEFENDANT Derrick Vincent Redd TO
             REDUCE SENTENCE PURSUANT TO 18 U.S.C. § 3582(c)(1)(A)(i)

         PLEASE TAKE NOTICE that Derrick Vincent Redd, through counsel, will and hereby

does move on November 8, 2019, pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), before the

Honorable Anthony J. Trenga, United States District Judge for the Eastern District of Virginia, at

the Albert V. Bryan U.S. Courthouse, 401 Courthouse Square, Alexandria, VA 22314, upon the

accompanying Memorandum of Law, Ada Fernandez Johnson’s supporting Declaration and

Exhibits, and all prior pleadings in this action, for an order reducing Redd’s 603-month sentence

to time served and for such other and further relief as the Court may deem just and appropriate.

Dated:          Washington, D.C.
                October 9, 2019
                                            Respectfully submitted,

                                            DEBEVOISE & PLIMPTON LLP

                                            By: /s/ Ada Fernandez Johnson
                                            Ada Fernandez Johnson
                                            Virginia bar number 42751
                                            Attorney for Derrick Vincent Redd
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                                 *Pro Hac Vice Admission pending
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                                       CERTIFICATE OF SERVICE

        I hereby certify that on the 9th day of October, 2019, I will electronically file the foregoing
with the Clerk of Court using the CM/ECF system. I hereby certify that I will mail the document by
FedEx to the following non-filing user:

Morris Parker
Justin W. Williams United States Attorney's Building
2100 Jamieson Ave
Alexandria, VA 22314


                           /s/Ada Fernandez Johnson______
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